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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA



   HELENA URÁN BIDEGAIN in her                      )
   individual capacity and in her capacity as the   )     Civil Action No. ___________________
   legal representative of the ESTATE OF            )
   CARLOS HORACIO URÁN ROJAS,                       )
                                                    )
   XIOMARA URÁN, in her individual capacity,        )
                                                    )     COMPLAINT
   and MAIRÉE URÁN BIDEGAIN, in her                 )
   individual capacity,                             )     JURY TRIAL DEMANDED
                                                    )
          Plaintiffs,                               )
                                                    )
   v.                                               )
                                                    )
   LUIS ALFONSO PLAZAS VEGA,                        )
                                                    )
          Defendant.                                )
                                                    )


         Plaintiff Helena Urán Bidegain, in her individual capacity and in her capacity as the legal
  representative of the estate of her deceased father, Carlos Horacio Urán Rojas, and plaintiffs
  Xiomara Urán and Mairée Urán Bidegain, in their individual capacity (collectively “Plaintiffs”)
  complain and allege as follows on information and belief:
                                 PRELIMINARY STATEMENT
         1.      On the morning of November 6, 1985, approximately 35 members of the M-19
  guerrilla group launched an armed attack on Colombia’s Palace of Justice in Bogotá – the seat of
  the nation’s two highest courts, the Supreme Court and the Council of State. Over the next two
  days, the Colombian military engaged in a brutal retaking of the Palace of Justice that left the
  building largely destroyed and nearly a hundred civilians dead, including eleven justices of the
  Supreme Court. All but one of the M-19 guerrillas died during the operation.
         2.      Magistrate Carlos Horacio Urán Rojas (“Magistrate Urán”), an Auxiliary Justice of
  the Council of State, was among the civilians killed. His brutalized body was found inside the
  Palace of Justice on November 7, 1985, stripped naked and washed, with a close-range gunshot
  wound to the temple.
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          3.     In the aftermath of the operation, military officials told Magistrate Urán’s family
  that he had been killed in crossfire during the retaking of the Palace of Justice, an unfortunate
  victim of circumstance.
          4.     The military informed grieving families and the public that the high civilian death
  toll at the Palace of Justice was the result of crossfire between the M-19 guerillas and government
  forces, and a fire that engulfed much of the Palace of Justice on the evening of November 6, 1985.
  Many bodies recovered were burned beyond recognition, and missing remains were blamed on the
  fire.
          5.     However, the military’s explanations were false – fabricated to cover up the
  unlawful system deployed by the military during the retaking of the Palace of Justice to identify,
  interrogate, torture and extrajudicially kill or forcibly disappear suspected guerillas or guerilla
  sympathizers among the hostages who exited the Palace of Justice.
          6.     Defendant, Luis Alfonso Plazas Vega, a lieutenant colonel at the time, led the
  military units charged with retaking the Palace of Justice as commander of the Cavalry School in
  the Colombian Army’s 13th Brigade.
          7.     Under Defendant’s command, soldiers stormed the Palace of Justice and took
  custody of all individuals, including civilian hostages, who were escorted out of the building.
  Everyone leaving the building was methodically triaged by the military; those suspected of being
  a guerilla or a guerilla sympathizer were labeled “especiales” (“special”).
          8.     Those who escaped the especiales designation were transferred to the nearby Casa
  del Florero, the two-story Museum of Independence just steps away from the Palace of Justice.
  There, they were questioned on the museum’s first floor and asked for identification. If nothing
  aroused the military’s suspicions, they were allowed to leave.
          9.     Those designated as especiales suffered a very different fate – one which Defendant
  and the military tried for years to cover up. The especiales were transferred to other military
  facilities, including the Cavalry School over which Defendant had command and control, where
  they were interrogated, tortured, and extrajudicially killed or forcibly disappeared.
          10.    The military attempted to cover up its crimes by disposing of the remains of their
  victims. Some of the disappeared have never been found. In a few instances, the military returned
  the bodies to the Palace of Justice and claimed they had died in crossfire during the siege.




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         11.     In the intervening decades, witness testimony, video and documentary evidence,
  and military radio communications emerged revealing that numerous individuals who were later
  found dead or whose remains were never recovered were actually escorted out from the Palace of
  Justice – alive and in the custody of the military.
         12.     In 2007, a number of Magistrate Urán’s personal belongings were discovered
  hidden in a locked vault inside the 13th Brigade following a court-ordered search of the premises.
  The search was ordered as part of a criminal investigation into the 13th Brigade’s forcible
  disappearance of eleven cafeteria workers following the Palace of Justice siege.
         13.     That same year, video evidence and eyewitness testimony emerged establishing
  that Magistrate Urán had also been escorted out of the Palace of Justice by members of the military,
  injured but very much alive.
         14.     In 2011, General Jesus Armando Arias Cabrales (“General Arias Cabrales”) was
  sentenced to 35 years in prison by a Colombian criminal court for his role in the forced
  disappearance of the Palace of Justice cafeteria workers, a decision later affirmed by the
  Colombian Supreme Court. Arias Cabrales was the head of the 13th Brigade and gave Defendant
  command of the mission to retake the Palace of Justice.
         15.     In 2014, following admissions by the State of Colombia that government actors
  tortured and disappeared civilians in the retaking of the Palace of Justice, the Inter-American Court
  of Human Rights found the State of Colombia responsible for torture, forced disappearances, and
  extrajudicial killings committed as part of the military’s retaking of the Palace of Justice, including
  the extrajudicial killing of Magistrate Urán.
         16.     The following year, in 2015, Colonel Edilberto Sánchez Rubiano (“Colonel
  Sánchez Rubiano”) was convicted by a Colombian criminal court for his role in the forced
  disappearance of the Palace of Justice cafeteria workers, a decision later affirmed on appeal. He
  was the head of the 13th Brigade’s B-2 Intelligence unit and among the high-ranking officials
  coordinating with Defendant during the retaking of the Palace of Justice.
         17.     In 2015, then-President of Colombia Juan Manuel Santos publicly apologized to
  the victims’ families for the actions of the military during the retaking of the Palace of Justice.
         18.     Nevertheless, despite the unearthed evidence and Plaintiffs’ tireless efforts, no
  individual has ever been held accountable for Magistrate Urán’s torture and extrajudicial killing.




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         19.     Plaintiffs, surviving family members of Magistrate Urán and his estate, commence
  this action against Defendant for his responsibility and role in the torture and extrajudicial killing
  of Magistrate Urán in connection with the retaking of the Palace of Justice in November 1985.
         20.     This is an action for compensatory and punitive damages for torts in violation
  of the Torture Victim Protection Act, Pub. L. No. 102-256, 106 Stat. 73 (1992) (codified at 28
  U.S.C. § 1350, note) (“TVPA”).
                                   JURISDICTION AND VENUE
         21.     This Court has jurisdiction over Plaintiffs’ claims of torture and extrajudicial killing
  under 28 U.S.C. § 1331, as this action arises under the TVPA.
         22.     Defendant Luis Alfonso Plazas Vega is a Colombian citizen who resides in Weston,
  Broward County, Florida, where he owns property.
         23.     Venue is proper in the Southern District of Florida, pursuant to 28 U.S.C. §
  1391(b)(1) and (c)(1).
                                               PARTIES
                                               Defendant
         24.     In November 1985, Defendant was a lieutenant colonel and the commander of the
  Colombian Army’s 13th Brigade Cavalry School in Bogotá. General Arias Cabrales, the head of
  the 13th Brigade, gave Defendant command of the mission to retake the Palace of Justice.
         25.     In 1995, following Defendant’s tenure in the Colombian military, he attempted to
  be stationed abroad as part of Colombia’s foreign service, including as Consul General in the
  United States and in Germany. According to declassified U.S. government cables, both of those
  attempts were unsuccessful due in part to his reported involvement in human rights abuses,
  including the forced disappearances in the retaking of the Palace of Justice, and his role in forming
  and directing a paramilitary group in conjunction with Medellin Cartel leaders.
         26.     In 2002, Defendant was appointed to head Colombia’s National Narcotics
  Department but resigned in 2004 following accusations in the Colombian Congress of
  mismanaging property confiscated from drug traffickers.
         27.     Starting in 2016, Defendant began to travel frequently to the United States, where
  he eventually purchased property and established residence.




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                                 Decedent Carlos Horacio Urán Rojas
         28.     Magistrate Carlos Horacio Urán Rojas was an Auxiliary Justice of the Council of
  State in Colombia, which was housed at the Palace of Justice. As of November 1985, Magistrate
  Urán had served as an Auxiliary Justice for more than five years.
         29.     At the time, Magistrate Urán had completed three master’s degrees at the Sorbonne
  University in Paris. While serving as an Auxiliary Justice, Magistrate Urán was also pursuing his
  doctoral studies at the Sorbonne.
         30.     He was married with four daughters.
                                                Plaintiffs
         31.     Plaintiff Helena Urán Bidegain is the daughter of Magistrate Urán. She was ten
  years old when her father was killed. She left Colombia with her family following her father’s
  death. She is a German citizen, currently residing in the United States. She brings this action in
  her individual capacity and in her capacity as the personal representative of her late father’s estate.
         32.     Plaintiff Xiomara Urán is the daughter of Magistrate Urán. She was one year old
  when her father was killed. She left Colombia with her family following her father’s death. She is
  a United States citizen, currently residing in the United States. She brings this action in her
  individual capacity.
         33.     Plaintiff Mairée Urán Bidegain is the daughter of Magistrate Urán. She was five
  years old when her father was killed. She left Colombia with her family following her father’s
  death. She is a French citizen, currently residing in Chile. She brings this action in her individual
  capacity.
                                      STATEMENT OF FACTS
         34.     Except with respect to Plaintiffs’ background, on information and belief, Plaintiffs
  allege as follows:
   The Colombian Military’s Pattern of Abuses Against Suspected Guerillas and Suspected
                                        Guerilla Sympathizers
         35.     Colombia has endured more than half a century of internal armed conflict. Since
  the 1960s, leftist armed guerrillas proliferated while right-wing paramilitaries countered with the
  Colombian government’s initial acquiescence and assistance. Illegal armed groups from the left
  and the right funded their activities with drug trafficking and committed atrocities against civilian
  populations, each justifying their actions on ideological grounds.


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         36.      While many actions taken by the Colombian military to restore public safety were
  legitimate, systematic human rights violations, including torture, forced disappearances, illegal
  surveillance, and extrajudicial killings have been part of the military’s purported campaign against
  the guerillas. The targets of these abuses, however, were not only guerrilla members, but also
  civilians suspected of having any connection with the guerrillas.
         37.      Throughout the 1980s, Colombian state actors targeted civilians suspected of
  affiliating or sympathizing with guerilla groups for detention, interrogation, torture, forced
  disappearance and extrajudicial killing. The majority of these abuses were carried out by members
  of the Colombian military. Individuals accused of “subversive activities” were held in military
  facilities and temporary detention centers, where members of the military would subject them to
  interrogations and torture. Following their interrogation and torture in these military facilities,
  many of the detainees were forcibly disappeared or killed. The military routinely concealed their
  victims’ remains.
         38.      These atrocities were carried out by members of the Colombian military with the
  knowledge and support of their commanders, with very few cases of effective investigations or
  prosecutions.
         39.      As documented by Colombian courts and international human rights judicial bodies
  and organizations, the grounds of the 13th Brigade’s military complex on the outskirts of Bogotá
  were used by the military to torture, extrajudicially kill and forcibly disappear civilians suspected
  of ties to the guerillas during this period. Detainees were held in buildings across the 13th
  Brigade’s military complex, including the Cavalry School.
         40.      During the retaking of the Palace of Justice, the military followed a similar pattern
  and transferred individuals tagged especiales to these same locations to be interrogated, tortured
  and extrajudicially killed or forcibly disappeared.
                                     The Palace of Justice Siege
         41.      At around 11:00 a.m. on November 6, 1985, approximately 35 armed members of
  the M-19 guerrilla group attacked the Palace of Justice in Bogotá, Colombia – a large four-story
  building that is the home of the Supreme Court and the Council of State, the nation’s two highest
  courts. The guerrilla members entered through the basement parking lot and took over the Palace
  of Justice, holding the approximately 300 individuals inside hostage.




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          42.     The Colombian government reacted swiftly. At or about 11:30 a.m. on November
  6, the military began its operation to retake the Palace of Justice and free the hostages. The
  operation was directed and coordinated by the Colombian Army’s 13th Brigade stationed on the
  outskirts of Bogotá, which operated under the command of General Arias Cabrales.
          43.     At the time, Defendant was a lieutenant colonel and the commander of the Cavalry
  School, a unit of the 13th Brigade specializing in armored fighting vehicles as well as more
  traditional horse-mounted troops. General Arias Cabrales gave Defendant command over the
  military’s operation to retake the Palace of Justice.
          44.     Defendant and his troops arrived at the Plaza Bolívar. As shown in the map below,
  the Plaza Bolívar (figure 1) is a square surrounded by government buildings, including the Palace
  of Justice (figure 2 on the north side of the square), city hall (figure 3 on the western side), Congress
  (figure 4 on the south side), and the national cathedral (figure 5 on the eastern side). A temporary
  command center was set up at the Casa del Florero (figure 6), a small two-story building housing
  the Independence Museum of Colombia located a short walk across the street from the main
  entrance of the Palace of Justice, on the northeastern corner of the square.




  Source: Forensic Architecture, Palacio de Justicia 3D model (2021), https://forensic-
  architecture.org/investigation/enforced-disappearance-at-the-palacio-de-justicia (figures added)




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         45.     At approximately 1 p.m. on November 6, soldiers from the Cavalry School
  breached the Palace of Justice with armored tanks.
         46.     Under Defendant’s command, Cavalry School soldiers and other troops swept
  through the Palace of Justice, clearing guerillas by force and escorting civilians from the building
  until a large fire that began on the fourth floor of the Palace forced a retreat later that evening.
         47.     The next morning, on November 7, units under Defendant’s command resumed
  operations to clear the guerillas from the Palace of Justice and escort civilians from the building.
  The military took custody of each individual who exited the building.
         48.     The retaking of the Palace of Justice was largely completed by the late afternoon
  on November 7, whereupon the building remained under military control.
                                        The Especiales System
         49.     As part of its retaking of the Palace of Justice, the military deployed an unlawful
  system designed to identify, interrogate, forcibly disappear, torture and, often, extrajudicially kill
  any suspected guerillas or guerilla sympathizers among the hostages exiting the Palace of Justice.
  Following their deaths, the military then denied ever having these individuals in their custody.
         50.     As individuals were escorted out of the Palace of Justice, they were triaged by the
  military. Some individuals were tagged especiales immediately as they were escorted out of the
  Palace of Justice by the military.
         51.     Other rescued individuals were taken to the temporary command center at the Casa
  del Florero. Following a brief interrogation on the first floor, individuals were either released or
  designated as especiales. Those labelled especiales were taken to the second floor, where they
  were subjected to a more intense and violent interrogation.
         52.     The especiales were then ultimately transported to other military facilities,
  including to the Cavalry School located on the grounds of the 13th Brigade. At these military
  facilities, especiales were tortured, killed, or forcibly disappeared.
         53.     Contemporaneous internal military radio communications confirm that the military
  transferred individuals who exited the Palace of Justice to military facilities. Military and police
  logbooks similarly document some of these transfers, including to the Cavalry School.
         54.     Military units were instructed to keep the rescued hostages that could not be
  identified “in isolation.” In a recorded military radio communication, Colonel Luis Carlos
  Sadovnik – the second in command of the 13th Brigade and Defendant’s superior officer – ordered



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  Colonel Sánchez Rubiano, the head of the 13th Brigade’s B-2 Intelligence unit, to search for M-
  19 guerillas and their sympathizers among the civilians exiting the Palace of Justice. At the end of
  the recorded communication, Colonel Luis Carlos Sadovnik states “Let’s hope that if we leave a
  sleeve, they won’t find the whole jacket” (“esperamos que si está la manga no aparezca el
  chaleco”). According to an expert report by the Colombian police, this phrase is a coded reference
  to forced disappearances.
         55.     The majority of those designated as especiales were civilians who the military
  assumed were guerillas or guerilla sympathizers because they could not satisfactorily confirm their
  identity, explain their presence at the Palace of Justice, or otherwise raised the suspicions of the
  military and could not affirmatively disprove an affiliation with the guerillas.
         56.     A fortunate few of the especiales were able to escape by ultimately convincing the
  military that they were not affiliated with the guerillas, including through the intervention of
  connected higher-ups who saved them from torture and execution. These individuals lived to
  provide first-hand accounts of the especiales system.
         57.     Among the civilians who escaped the especiales system were two students,
  Eduardo Matson Ospino and Yolanda Ernestina Santodomingo, who were visiting the Palace of
  Justice at the time of the siege. They were escorted out of the building by military personnel on
  November 6, 1985, and taken to the Casa del Florero, where Defendant was present at the time,
  and giving orders. There, they were tagged as especiales and moved to the building’s second floor.
         58.     Eduardo Matson Ospino and Yolanda Ernestina Santodomingo were then
  transferred from the Casa del Florero to a military facility where they were handcuffed,
  blindfolded, interrogated, tortured and threatened with execution.
         59.     Eduardo Matson Ospino and Yolanda Ernestina Santodomingo were only released
  after military personnel learned that Eduardo Matson Ospino’s uncle was the governor of the
  Department of Bolívar and that he knew the son of a prominent Colombian general.
         60.     Other surviving especiales confirm that they were similarly tagged following their
  exit from the Palace of Justice and then transferred to the grounds of the 13th Brigade, including
  its Cavalry School, where they were tortured.
         61.     Many of the especiales were never released. More than half a dozen employees of
  the Palace of Justice cafeteria, including the cafeteria’s manager, Carlos Augusto Rodríguez Vera,




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  were filmed exiting the Palace of Justice alive in the custody of the military. These cafeteria
  workers were never seen alive again and many of their bodies were never recovered.
         62.     Irma Franco, the only actual M-19 guerilla reported to have been captured alive by
  the military during the retaking of the Palace of Justice, met a similar fate. Following her
  identification as an M-19 guerilla, she was tagged as an especial and taken to the second floor of
  the Casa del Florero, where Defendant reprimanded the soldiers guarding her for being too lenient
  with her and the other especiales. Soon after, Irma Franco was placed in the back of a military
  truck, driven away and never seen alive again.
         63.     The government of Colombia has acknowledged that state actors tortured Eduardo
  Matson Ospino and Yolanda Ernestina Santodomingo, and forcibly disappeared Carlos Augusto
  Rodríguez Vera and Irma Franco in conjunction with the retaking of the Palace of Justice.
                    The Torture and Extrajudicial Killing of Magistrate Urán
         64.     Magistrate Urán was in the Palace of Justice when M-19 guerrillas took over the
  building on the morning of November 6, 1985. He took refuge in an office and was able to speak
  to his wife by telephone several times that day. In the evening, he informed his wife that there was
  smoke, but that he was uninjured.
         65.     By the morning of November 7, the military had retaken control over much of the
  Palace of Justice. Magistrate Urán was in a group of about 60 hostages that the M-19 held in a
  bathroom between the 2nd and 3rd floors of the northwest corner of the building. This bathroom
  became the guerrillas’ last holdout.
         66.     The guerrillas, who were crowded in the bathroom with the hostages, exchanged
  fire with the military forces, running in and out of the bathroom. At some point, two grenades were
  thrown into the overcrowded bathroom, first through a hole punched through the wall and then
  through the door. The explosions killed several people and left others injured. One of the
  explosions left multiple shrapnel injuries all over the back of Magistrate Urán’s body (torso, back,
  back of the legs and arms, and even the sole of one foot) and severely injured his left leg.
         67.     The military eventually gained control over the bathroom and the fighting ended.
  Hostages were escorted out of the bathroom, including Magistrate Urán, who was injured and
  unable to move freely without assistance due to his leg injury.
         68.     Video taken by news agencies reporting on the retaking of the Palace of Justice
  captured at least three different angles of the moment when Magistrate Urán exited the building in



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  the custody of the military at approximately 2:17 p.m. on November 7. The videos showed
  Magistrate Urán being escorted out of the Palace of Justice – injured but alive – by two members
  of the military who supported him as he hopped to favor his injured leg.
          69.    Eyewitnesses present at the Palace of Justice confirm that Magistrate Urán exited
  the building alive.
          70.    Magistrate Urán was laid on a gurney by military personnel and moved out of the
  area.
          71.    Videos from multiple news stations show personnel carrying the gurney with
  Magistrate Urán heading toward the Casa del Florero, where an ambulance was also located.
  Magistrate Urán was not seen alive again. According to a Ministry of Justice forensic report,
  Magistrate Urán’s body was found later that day back inside of the Palace of Justice stripped naked
  and washed, with a close-range gunshot wound to the temple.
          72.    Starting on November 7, Magistrate Urán’s family and friends looked for him in
  the Military Hospital, and personnel from the Ministry of Health made inquiries in all the city’s
  clinics and hospitals. No one was able to locate him.
          73.    On the morning of November 8, Dr. Luz Helena Sánchez Gómez, a family friend
  and the Chief of Medical Services at the Ministry of Health, went to Medicina Legal (the Institute
  of Forensic Medicine), to look for Magistrate Urán. She was granted access to a room guarded by
  military personnel, and told that it contained the bodies of guerrillas. In that room, she found
  Magistrate Urán’s body. As she moved closer to inspect his corpse, the military guard referred to
  Magistrate Urán as “this son of a whore guerrilla.”
          74.    All indications are that the military tagged and treated Magistrate Urán as an
  especial, then tortured and killed him as a result. Despite having been escorted out of the Palace
  of Justice alive by the military, his name was omitted from the government list of rescued civilian
  hostages. Instead, his name was included, added in by hand, on a separate November 7, 1985
  government list of 18 deceased individuals, which included six M-19 members. Magistrate Urán’s
  face showed signs of ante-mortem lesions, indicating that he had been beaten before being
  executed. His body also showed signs of post-mortem burns in the lumbar region. According to
  the autopsy carried out at Medicina Legal, Magistrate Urán died from a close-range gunshot to his
  temple – the same manner of death as many of the M-19 members.




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          75.    Magistrate Urán’s family ultimately identified his body at Medicina Legal. The
  military falsely told them that he had been killed inside the Palace of Justice in crossfire with the
  guerillas.
    Defendant’s Role in the Retaking of the Palace of Justice and the Unlawful Especiales
                                                 System
          76.    At the time of the Palace of Justice siege, Defendant was the commander of the
  Cavalry School, a unit of the Colombian Army’s 13th Brigade. Under the orders of General Arias
  Cabrales, the commander of the 13th Brigade, Defendant deployed his Cavalry School troops to
  retake the Palace of Justice.
          77.    As the commander of the operation to breach the doors of the Palace of Justice and
  lead the operations once the military entered the building, Defendant had authority over the
  military personnel involved, including troops from the Cavalry School, and coordinated with other
  units that also entered the Palace of Justice, including the Artillery School units.
          78.    Defendant had authority over the units that carried out the final sweep of the Palace
  of Justice on November 7, 1985 and escorted out the last remaining group of hostages, which
  included Magistrate Urán.
          79.    During the operation, Defendant publicly stated that guerillas dressed in civilian
  clothing were among the individuals escorted out by the military, including as part of the final
  sweep of the Palace of Justice.
          80.    Defendant principally operated near the Palace of Justice, including in the Casa del
  Florero, which served as the military’s operational command center and the main screening site
  for hostages who exited the Palace of Justice.
          81.    Defendant repeatedly met with other high-ranking officers inside the Casa del
  Florero, including the commander of the 13th Brigade, General Arias Cabrales and the head of
  the 13th Brigade’s B-2 Intelligence unit, Colonel Sánchez Rubiano, to coordinate the military
  response to the M-19 takeover of the Palace of Justice.
          82.    Defendant also coordinated the military’s operation with civilian law enforcement
  units assisting in the retaking of the Palace of Justice, including the National Police and the
  Administrative Department of Security (DAS, Departamento Adminsitrativo de Seguridad),
  Colombia’s civilian intelligence agency at the time.




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          83.     Defendant issued orders and received reports in person, through his direct
  subordinates and via radio communication using the call sign “Azabache 6.”
          84.     Defendant personally escorted a number of rescued hostages from the Palace of
  Justice to the Casa del Florero, where they were interrogated by the military, including by
  members of the 13th Brigade’s B-2 Intelligence unit.
          85.     Defendant repeatedly inspected the second floor of the Casa del Florero, where a
  number of the especiales were initially held before being transferred to military facilities.
          86.     While on the second floor of the Casa del Florero, Defendant issued orders to the
  military personnel guarding the especiales and reprimanded them for being too lenient with the
  suspected guerillas in their custody.
          87.     Defendant ordered the transfer of especiales to military facilities, including to the
  Cavalry School, where especiales were tortured and killed or forcibly disappeared.
          88.     Defendant ordered that reports be sent back to him regarding the interrogation of
  the especiales at these military facilities.
     The Military Cover-Up of the Illegal Especiales System and of the Circumstances of
                                        Magistrate Urán’s Death
          89.     Following the retaking of the Palace of Justice, the military mounted a campaign of
  disinformation and intimidation aimed at covering up the existence of the illegal especiales system
  and the crimes committed under that system, including the torture and killing of Magistrate Urán.
          90.     First, the few especiales who were released were told to keep quiet and threatened
  by the military with further harm if they spoke to anyone about the torture they suffered. For
  example, when Jaime Buitrago Castro was released after being labelled an especial and tortured,
  he was instructed to keep silent. Upon being returned to the Casa Del Florero from a military
  facility, members of the military removed his hood and told him, “Go, and be careful not to speak
  or tell what happened, and you won’t have any more problems.” Jaime received a phone call
  several days after his release. The caller threatened him and his mother, indicating that they were
  under surveillance.
          91.     Second, the military intimidated family members, along with journalists and
  lawyers, who sought information about especiales who had been killed or disappeared. Defendant
  personally warned individuals seeking information on those killed during the Palace of Justice
  siege to stop asking questions about the victims. Defendant also physically assaulted families of


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  victims peacefully protesting against the failure of the Colombian government to investigate and
  prosecute those responsible for the deaths or disappearances of the especiales.
          92.     Third, state actors mishandled the crime scene at the Palace of Justice despite
  existing protocols in place in 1985, including by moving the bodies from where they were found
  to the first floor of the Palace of Justice, and by hosing off the bodies and their wounds before
  forensic personnel could examine them and the crime scene. This hampered a proper investigation
  into the manner and location of the victims’ deaths. The Colombian government has admitted that
  its agents improperly handled evidence collected at the Palace of Justice.
          93.     Fourth, the military actively concealed evidence that would establish the existence
  of the illegal especiales system and of the torture and extrajudicial killings, including by
  threatening the few especiales who were freed so that they would not complain of ill treatment,
  refusing to acknowledge that rescued hostages were in military custody upon exiting the Palace of
  Justice, or by claiming that missing individuals may have been among the unidentified bodies
  found in the fourth floor, where the worst of the fire took place.
          94.     With respect to Magistrate Urán, the military denied ever having him in its custody.
  Shortly after his death, the military misled his family by telling them that he had died inside the
  Palace of Justice as a result of crossfire with the guerillas.
          95.     Other families who could not locate the remains of their loved ones began a
  campaign to find their disappeared family members. Those efforts resulted in a criminal
  investigation of military officers regarding eleven cafeteria workers who had been disappeared
  during the retaking of the Palace of Justice.
          96.     In 2007, as this investigation slowly advanced, a court order was issued to search
  the premises of the 13th Brigade. When the prosecutor’s office conducted an official search of the
  premises, Magistrate Urán’s belongings, including the contents of his wallet, were found hidden
  in a locked vault inside the 13th Brigade. The search also uncovered military files regarding the
  Palace of Justice siege, including the fingerprints and identifications of Yolanda Santodomingo
  and Eduardo Matson, the two students tortured by military officials after being tagged especiales.
  Another recovered military document, entitled “information related to the ‘S’ especial,” detailed
  information regarding Irma Franco, the captured M-19 member whom the Colombian government
  has acknowledged was forcibly disappeared by state agents in conjunction with the retaking of the
  Palace of Justice.



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             97.    That same year, video records and eyewitness testimony of Magistrate Urán exiting
  the Palace of Justice alive emerged to lay bare the military’s falsehoods.
   Despite Plaintiffs’ Efforts, the Domestic Investigation into Magistrate Urán’s Death Has
                                              Not Progressed
             98.    Following Magistrate Urán’s death in 1985, Colombian authorities misled his
  family regarding the circumstances of his death.
             99.    In 2007, when Magistrate Urán’s belongings were discovered at the 13th Brigade
  and video evidence emerged showing that he had exited the Palace of Justice alive, Plaintiffs
  pushed to have a criminal investigation into his death opened.
             100.   In response to Plaintiffs’ demands, the Colombian Prosecutor General assigned
  Magistrate Urán’s case to prosecutor Angela Buitrago in 2008, who opened an investigation in
  2010. After prosecutor Angela Buitrago launched her investigation and sought to interview
  prominent military officials however, the Prosecutor General removed her from the case and
  reassigned it to the National Unit for Human Rights and International Humanitarian Law, where
  the case has stalled once more without any tangible results.
             101.   Given the lack of progress in Colombia, Plaintiffs filed a petition before the Inter-
  American Court of Human Rights. In 2014, the Inter-American Court of Human Rights found that
  Colombian state actors tortured and killed Magistrate Urán following his exit from the Palace of
  Justice, and ordered the Colombian government to investigate and prosecute those responsible. To
  date, no individual has been investigated or held accountable in Colombia for Magistrate Urán’s
  killing.
             102.   In 2016, Defendant began to travel to the United States – the first time he had done
  so since the emergence of the new evidence regarding Magistrate Urán in 2007.
             103.   Plaintiffs first became aware of Defendant’s travels to and presence in the United
  States in 2017.
                                      GENERAL ALLEGATIONS
             104.   Plaintiffs re-allege and incorporate by reference the allegations set forth in the
  preceding paragraphs as if fully set forth herein.
             105.   The acts described herein were inflicted under color of law and under color of
  official authority of the State of Colombia and were inflicted deliberately and intentionally.




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         106.    At all relevant times described herein, Defendant was the commander of the
  military operation to retake the Palace of Justice.
         107.    Defendant conspired and acted in concert with one or more other members of the
  military, including fellow members of the 13th Brigade, General Arias Cabrales, Colonel Sánchez
  Rubiano and Colonel Luis Carlos Sadovnik, in a common plan, design, and scheme to carry out
  the torture and extrajudicial killing or forced disappearance of especiales as part of the military’s
  operation to retake the Palace of Justice.
         108.    Defendant knowingly joined and actively participated in carrying out the common
  plan, design, and scheme of the illegal especiales system. In addition to being personally liable for
  his own actions, Defendant is jointly and severally liable for the actions of his co-conspirators, all
  of which were actions undertaken in furtherance of the common plan, design, and scheme.
         109.    The torture and extrajudicial killing of Magistrate Urán were foreseeable
  consequences of a common, shared intention to carry out the illegal especiales system.
         110.    Defendant is also responsible by virtue of having aided and abetted, or otherwise
  substantially assisted, in the authorization, implementation, and oversight of the illegal especiales
  system.
         111.    At all relevant times, Defendant knew and purposefully intended that his actions
  would aid, abet, or assist in the commission of crimes tied to the illegal especiales system and the
  cover-up thereof. Defendant is therefore jointly and severally liable for the wrongful conduct of
  the persons he aided and abetted.
         112.    As commanding officer, Defendant further had the legal authority and practical
  ability to exert control over his subordinates, including those who participated in the illegal
  especiales system that resulted in the torture and extrajudicial killing of Magistrate Urán.
         113.    In light of his role as a lieutenant colonel and the commander of the Colombian
  Army’s 13th Brigade Cavalry School, Defendant knew, or should have known, that his
  subordinates committed unlawful acts as part of the especiales system. Defendant failed to prevent
  the unlawful acts committed by his subordinates and then failed to investigate or punish his
  subordinates’ involvement in the unlawful especiales system, including the torture and
  extrajudicial killing of Magistrate Urán.
         114.    Defendant’s acts and omissions, or those of his subordinates, as described herein,
  were deliberate, intentional, wanton, malicious, oppressive, and done with a willful and conscious



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  disregard for Plaintiffs’ rights and those of the decedent Magistrate Urán. Consequently, Plaintiffs
  are entitled to punitive damages.
                                   FIRST CLAIM FOR RELIEF
                      (Extrajudicial Killing of Magistrate Urán – all Plaintiffs)
          115.   Plaintiffs Xiomara Urán and Mairée Urán Bidegain, in their individual capacities
  and Plaintiff Helena Urán Bidegain in her individual capacity and as the legal representative of
  the estate of Magistrate Urán, re-allege and incorporate by reference the allegations set forth in
  the preceding paragraphs as if fully set forth herein.
          116.   Following his exit from the Palace of Justice on November 7, 1985, Magistrate
  Urán was extrajudicially killed by the military as a result of their unlawful especiales system.
          117.   Magistrate Urán’s death was deliberate and carried out under color of foreign law
  and constitutes an extrajudicial killing as defined by the Torture Victim Protection Act, Pub. L.
  No. 102-256, 106 Stat. 73 (1992) (codified at 28 U.S.C. § 1350, note).
          118.   No regularly constituted court authorized the killing of Magistrate Urán, which was
  unlawful under Colombian law, international law, and under the laws of any foreign nation.
  Magistrate Urán was never charged with, convicted of, or sentenced in relation to any crime.
          119.   As pleaded above, Defendant conspired with, aided and abetted, and/or exercised
  command responsibility over the individuals who carried out the extrajudicial killing of Magistrate
  Urán.
          120.   Prior to his execution, Magistrate Urán was placed in imminent fear for his life and
  suffered severe emotional and physical abuse and agony. His killing inflicted severe mental pain
  and suffering on his family members, Plaintiffs Helena Urán Bidegain, Xiomara Urán, and Mairée
  Urán Bidegain.
          121.   As a direct and proximate result of Magistrate Urán’s extrajudicial killing, Plaintiffs
  continue to suffer from loss of companionship, support, and services.
          122.   As a result of the extrajudicial killing of Magistrate Urán, Plaintiffs have suffered
  damages in an amount to be determined at trial.
          123.   In addition, Defendant’s acts and omissions were deliberate, willful, intentional,
  wanton, malicious, and oppressive, and should be punished by an award of punitive damages in
  an amount to be determined at trial.




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                                    SECOND CLAIM FOR RELIEF
   (Torture of Magistrate Urán - Plaintiff Helena Urán Bidegain in her capacity as the legal
                           representative of the estate of Magistrate Urán)
          124.    Plaintiff Helena Urán Bidegain, in her capacity as the legal representative of the
  estate of Magistrate Urán, re-alleges and incorporates by reference the allegations set forth in the
  preceding paragraphs as if fully set forth herein.
          125.    On November 7, 1985, Magistrate Urán was taken into the custody of military
  personnel under Defendant’s command and control and tagged and treated as an especial. Already
  injured, Magistrate Urán was deprived of medical care and instead brutalized by the military,
  including beatings to his face, prior to his extrajudicial killing.
          126.    The acts described herein caused Magistrate Urán excruciating injuries and severe
  physical and mental pain and suffering.
          127.    These acts were inflicted intentionally and deliberately for purposes that include,
  among others, punishing Magistrate Urán for acts that he or third persons were suspected of having
  committed as perceived guerillas or guerilla sympathizers, intimidating or coercing Magistrate
  Urán into providing information on the M-19 guerrilla group and its attack on the Palace of Justice,
  or discriminating against Magistrate Urán on the basis of his perceived political beliefs.
          128.    These acts constitute torture in violation of the Torture Victim Protection Act, Pub.
  L. No. 102-256, 106 Stat. 73 (1992) (codified at 28 U.S.C. § 1350, note).
          129.    The torture of Magistrate Urán did not arise from and was not inherent in or
  incidental to lawful sanctions.
          130.    At the time these acts occurred, Magistrate Urán was in the custody or physical
  control of Defendant or Defendant’s co-conspirators who were members of the Colombian
  military. These acts were committed under actual or apparent authority, or under color of law, of
  the State of Colombia.
          131.    As pleaded above, Defendant conspired with, aided and abetted, and/or exercised
  command responsibility over the individuals who tortured Magistrate Urán in keeping with the
  unlawful especiales system.
          132.    As a result of Magistrate Urán’s torture, the estate of Magistrate Urán has suffered
  damages in an amount to be determined at trial.




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         133.    In addition, Defendant’s acts and omissions were deliberate, willful, intentional,
  wanton, malicious, and oppressive and exhibited a reckless indifference to Magistrate Urán’s
  rights. Consequently, Defendant should be punished by an award of punitive damages in an
  amount to be determined at trial.
                                      PRAYER FOR RELIEF
         To the extent permitted by law, Plaintiffs seek the following relief against Defendant:
         (a)     compensatory damages;
         (b)     punitive damages;
         (c)     reasonable attorneys’ fees, costs and expenses; and
         (d)     such other and further relief as the court may deem just and proper.


         Plaintiffs request a trial by jury for each claim for relief and all triable issues.



     Dated: February 15, 2022                   By: /s/ Betty Chang Rowe

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